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August 22, 2023


VIA ECF


Catherine O’Hagan Wolfe, Clerk of Court
United States Court of Appeals for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007


Re:       Lexington Furniture Industries, Inc. v. The Lexington Company, AB,
          Docket No. No. 22-2993


Dear Ms. Wolfe:

By this letter, I am writing to update the Court about additional limitations on my
availability past the dates covered in Appellant’s Oral Argument Statement as filed
on May 12, 2023. I am unavailable for oral argument on the following dates:

          October 19–20, 2023

          November 20–22, 2023

A copy of this letter is being served on counsel for all parties through the Court’s
ECF system.



                                         Respectfully submitted,




                                         /s/ Jared I. Kagan

                                         Jared I. Kagan
                                         Debevoise & Plimpton LLP
